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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JOHN ANTHONY CASTRO,                            §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §          Civil Action No. 3:18-cv-645-M
                                                §
GEORGETOWN UNIVERSITY and NAN                   §
HUNTER,                                         §
                                                §
       Defendants.                              §

                                            ORDER

        Before the Court is Defendants’ Motion to Dismiss (ECF No. 7), filed on April 17, 2018.

On May 9, 2018, Plaintiff filed his First Amended Complaint (ECF No. 11).

        The general rule is that the filing of an amended complaint supersedes a prior complaint.

See King v. Dogan, 31 F.3d 344, 346 (5th Cir. 1994). A motion to dismiss that attacks the

superseded complaint may be denied as moot. See, e.g., Mangum v. United Parcel Servs., No.

3:09–CV–0385–D, 2009 WL 2700217, at *1 (N.D. Tex. Aug. 26, 2009). In light of the First

Amended Complaint, Defendants’ Motion to Dismiss is DENIED as moot.

        SO ORDERED.

        May 14, 2018.



                                                     _________________________________
                                                     BARBARA M. G. LYNN
                                                     CHIEF JUDGE




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